IN THE
UNITED STATES DISTRICT COURT

FOR THE
WESTERN DISTRICT OF VIRGINIA
DANVILLE DIVISION

UNITED STATES OF AMERICA ) PETITION FOR WRIT OF HABEAS

) CORPUS AD TESTIFICANDUM

Vv. )

) Criminal No. 4:18-CR-00011

ARMONTI DAVON WOMACK )

Comes now, Ronald M. Huber, Assistant United States Attorney for the Western District of
Virginia, and informs the Court that one ARMONTI DAVON WOMACK (Inmate number
NK6003, DOB: a) is incarcerated in SCI Huntington and that the said is a necessary
witness before the United States District Court for the Western District of Virginia, at Roanoke,

Virginia, scheduled for trial at 9:30 a.m. on the 7 day of October, 2019.

WHEREFORE, your petitioner prays for an Order of this Court directing the Honorable
Brad Sellers, Acting United States Marshal, Roanoke, Virginia, to produce the body of the said
ARMONTI DAVON WOMACK that he may appear and testify before the United States District
Court for the Western District of Virginia, at Roanoke, Virginia, on the 7" day of October, 2019

at 9:30 a.m..

Dated: 8/27/2019 Low.

Ronald M. Huber
Assistant United States Attorney

TO: SCI Huntington, 1100 Pike Street, Huntington, PA 16654, (814) 643-2400

IN THE EVENT THIS INMATE IS TO BE TRANSFERRED TO ANOTHER
FACILITY BEFORE THE REQUESTED DATE OF APPEARANCE, PLEASE NOTIFY
THE ASSISTANT U.S. ATTORNEY LISTED ABOVE AT (434) 293-4283.

GREETINGS:

WE COMMAND YOU that you surrender the body of ARMONTI DAVON WOMACK
detained in the SCI Huntington, under your custody as it is said, to the United States Marshal for
the Western District of Virginia, or one of his Deputies, or any other authorized United States

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Marshal, to the end that his body will be before the United States District Court for the Western
District of Virginia, at Roanoke, Virginia, on the 7 day of October, 2019, at 9:30 a.m., or at
such other time or times as the District Court may direct.

ENTER: This day of August, 2019.

 

United States District Judge

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TO THE UNITED STATES MARSHAL FOR THE WESTERN DISTRICT
OF VIRGINIA, OR ANY AUTHORIZED UNITED STATES MARSHAL:

TO EXECUTE:

WE COMMAND that you proceed to the and remove therefrom the body of ARMONTI
DAVON WOMACK and produce his under safe and secure conduct before the United States
District Court for the Western District of Virginia, at Roanoke, Virginia, on the 7th day of
August, 2019, at 9:30 a.m., or at such other time or times as the District Court may direct.

 

 

 

BY:
Deputy Clerk
CUSTODY ASSUMED:
EXECUTED this. _ day of August 2019.
BY:
United States Marshal/Deputy
RETURNED:
EXECUTED this day of August, 2019.
BY:
United States Marshal/Deputy
SENTENCED STATE PRISONER: _ Yes: No:  X

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